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         July 15, 2025


         VIA ECF

         The Honorable Peggy Kuo
         United States District Court
         Eastern District of New York
         United States Courthouse
         225 Cadman Plaza East
         Brooklyn, New York 11201

         Re:    In re Virtu Financial, Inc. Securities Litigation,
                No. 1:23-cv-03770-NGG-PK (E.D.N.Y.)

         Dear Judge Kuo:

                        The parties in the above-referenced matter have agreed to execute the Court’s
         Standing Confidentiality Order (Exhibit 1), with mutually agreeable modifications as set out in the
         attached redline (Exhibit 2). The parties agree that the proposed modifications are appropriate to
         ensure the protection of sensitive discovery material that will be produced in this case. We
         respectfully request that the Court enter the Confidentiality Order as modified.



                                                                     Respectfully submitted,


                                                                 /s/ Alison R. Benedon
                                                                 Alison R. Benedon



         cc:    All Counsel of Record (via ECF)
